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                 IN THE UNITED STATES DISTRICT COURT
                     FOR THE DISTRICT OF DELAWARE


UNITED STATES OF AMERICA,              :
                                       :
                   Plaintiff,          :
                                       :
      v.                               :      Criminal Action No. 23-91-RGA
                                       :
ROBERT DORSEY,                         :
                                       :
                   Defendant.          :


                  PRELIMINARY ORDER OF FORFEITURE

      IT IS HEREBY ORDERED THAT:

      1.     As the result of the guilty plea to Counts One and Two of the Indictment,

for which the Government sought forfeiture, pursuant to 18 U.S.C. § 924(d) and 28

U.S.C. § 2461(c), the defendant, Robert Dorsey, shall forfeit to the United States any

and all firearms and ammunition involved in the commission of the offenses.

      2.     The Court has determined, based on the evidence set forth in the plea

agreement, as well as on the record during the defendant’s Rule 11 change of plea

hearing, that the following property is subject to forfeiture pursuant to 18 U.S.C. §

924(d) and 28 U.S.C. § 2461(c), and that the Government has established the requisite

nexus between such property and such offenses:

             a. Smith & Wesson M&P 40 M2.0, .40 caliber handgun with serial

                number NKF8770;

             b. Smith & Wesson Model 13, .357 magnum caliber revolver with serial

                number 2D84641;
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              c. Privately made firearm (PMF) Polymer 80 Inc., 9mm with no serial

                 number;

              d. Eleven (11) rounds of .40 caliber ammunition;

              e. Five (5) rounds of .357 ammunition.

              (collectively, the “Subject Property”).

       3.     Upon entry of this Order, the Attorney General (or a designee) is

authorized to seize the property subject to forfeiture, whether held by the defendant

or by a third party, and to conduct any discovery proper in identifying, locating, or

disposing of the property subject to forfeiture, in accordance with Fed. R. Crim. P.

32.2(b)(3).

       4.     Upon entry of this Order, the Attorney General (or a designee) is

authorized to commence any applicable proceeding to comply with statutes governing

third party rights, including giving notice of this Order.

       5.     The United States shall publish notice of the order and its intent to

dispose of the property in such a manner as the Attorney General (or a designee) may

direct. The United States may also, to the extent practicable, provide written notice

to any person known to have an alleged interest in the property. No such notice is

required to the extent that this Order consists solely of a money judgment against

the defendant. Rule 32.2(c)(1).

       6.     Any person, other than the above-named defendant, asserting a legal

interest in the Subject Property may, within thirty days of the final publication of

notice or receipt of notice, whichever is earlier, petition the court for a hearing



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without a jury to adjudicate the validity of his alleged interest in the property, and

for an amendment of the order of forfeiture, pursuant to 21 U.S.C. § 853(n).

      7.     Pursuant to Fed. R. Crim. P. 32.2(b)(3), this Preliminary Order of

Forfeiture shall become final as to the defendant at the time of sentencing, or before

sentencing if the defendant consents, and shall be made part of the sentence and

included in the judgment. If no third-party files a timely claim, this Order shall

become the Final Order of Forfeiture, as provided by Fed. R. Crim. P. 32.2(c)(2).

      8.     Any petition filed by a third party asserting an interest in the Subject

Property shall be signed by the petitioner under penalty of perjury and shall set forth

the nature and extent of the petitioner’s right, title, or interest in the property, the

time, and circumstances of the petitioner’s acquisition of the right, title or interest in

the property, any additional facts supporting the petitioner’s claim and the relief

sought.

      9.     After the disposition of any motion filed under Fed. R. Crim. P.

32.2(c)(1)(A) and before a hearing on the petition, discovery may be conducted in

accordance with the Federal Rules of Civil Procedure upon a showing that such

discovery is necessary or desirable to resolve factual issues.

      10.    The United States shall have clear title to the Subject Property following

the Court’s disposition of all third-party interests, or, if none, following the expiration

of the period provided in 21 U.S.C. § 853(n)(2) for the filing of third-party petitions.

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      11.    The Court shall retain jurisdiction to enforce this Order, and to amend

it as necessary, pursuant to Fed. R. Crim. P. 32.2(e).




       January 15, 2025
Dated: __________________               SO ORDERED:


                                        /s/ Richard G. Andrews
                                        ______________________________________
                                        HONORABLE RICHARD G. ANDREWS
                                        UNITED STATES DISTRICT JUDGE




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